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  September 19, 2024

  Honorable Rukhsanah L. Singh, U.S.M.J
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608
  Re:       In re: Johnson & Johnson Talcum Powder Products, Marketing, Sales
            Practices, and Products Liability Litigation
            Case No.: 3:16-md-02738-MAS-RLS
  Dear Judge Singh:

          Pursuant to the Court’s request for bi-monthly reports, the parties
   jointly offer the following updates on recent MDL activities.

  Outstanding Issues to be Addressed by the Court:

       x The first case or cases to be tried:
                  o On September 5, 2024, the PSC submitted a letter requesting the
                    Judkins and Rausa cases be consolidated for the first trial (ECF
                    33260). Defendants wrote to the Court on September 6th (ECF
                    33263) objecting to the PSC’s request to consolidate multiple cases
                    for the first trial and asking the Court to direct the PSC to select one
                    of the two cases, consistent with Judge Wolfson’s prior ruling on the
                    issue. Defendants wrote to the Court again on September 13th (ECF
                    33274) to request the Court’s position before submitting briefing. On
                    September 17, 2024, Judge Shipp denied PSC’s request for a
                    consolidated trial and ordered the PSC to select a single case to be
                    tried as the first bellwether no later than September 24, 2024 (ECF
                    33279).

       x Hearing on one of the R. 702 Motions:
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             o On September 5, 2024, Defendants wrote to the Court (ECF 33253)
               regarding R. 702 motions to request a live hearing on Defendants’
               Motion to Exclude Plaintiffs’ Experts’ Asbestos-Related Opinions
               (ECF 33012), particularly as it relates to Dr. William Longo, with
               cross examination and the ability for Defendants to bring up to two
               rebuttal witnesses. Plaintiffs oppose Defendants’ request as stated,
               but if a hearing on all pending Daubert motions would assist the
               Court, Plaintiffs stand ready to participate.


     x Pending R. 702 Motions – fully briefed
            o On July 23, 2024, Plaintiffs filed motions to exclude the geology
              opinions of Drs. Poulton and Webb (ECF 32996); exclude the
              opinions of Dr. Sutcliffe (ECF 32998); exclude the opinions of Drs.
              Finan, Saenz, and Holcomb (ECF 32999); exclude the opinions of Dr.
              Permuth (ECF 33001); exclude the opinions of Drs. Longacre and
              Felix (ECF 33002); exclude the opinions of Drs. Sanchez, Wylie, and
              Su (ECF33006); exclude the opinions of Dr. DiFeo (ECF 33010);
              exclude the opinions of Dr. Kornak ECF 33011); exclude the opinions
              of Dr. Boyd (ECF 33060); and in support of Chief Judge Wolfson’s
              2020 Daubert Opinion (ECF 33009). Plaintiffs also filed a Response
              to the Court’s April 30, 2024 Memorandum and Order Regarding
              Judge Wolfson’s Daubert Opinion on General Causation (ECF
              33009).

            o On July 23, 2024, Defendants filed motions to exclude the opinions of
              Drs. Clarke-Pearson with respect to Ms. Rausa, Ms. Converse, and
              Ms. Newsome (ECF 33007); exclude the opinions of Dr. Wolf with
              respect to Ms. Bondurant, Ms. Gallardo, and Ms. Judkins (ECF
              33003); exclude the opinions of Drs. Kessler, Plunkett, Sage, and
              Newman (ECF 33000); exclude the opinions of Dr. Godleski (ECF
              33004); exclude the opinions Plaintiffs’ experts regarding alleged
              heavy metals and fragrances (ECF 33005); exclude Plaintiffs’ experts’
              general causation opinions (ECF 33008); exclude Plaintiffs’ experts’
              opinions regarding biological plausibility/mechanism (ECF 33013);
              and exclude Plaintiffs’ experts’ asbestos-related opinions (ECF
              33012).
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            o On August 22, 2024, the parties filed their Oppositions to the Daubert
              Motions filed on July 23, 2024.

            o On September 5, 2024, the PSC filed a supplemental brief and
              affidavit (ECF 33252) without leave of Court to their Opposition to
              Defendants’ Motion to Exclude Plaintiffs’ Experts’ General Causation
              Opinions. Defendants will move to strike.

     x Defendants’ Motion for Summary Judgment:
            o Per Order of July 22, 2024 (ECF 32991), J&J and LLT filed their
              Motion for Summary Judgment on August 23, 2024 (ECF 33142-
              33145 in the main docket, copies filed on individual dockets for the
              six involved cases). Oppositions are due September 23, 2024, and
              replies on October 11, 2024. On September 13, 2024, the PSC
              requested an extension of the page limit for their Opposition brief
              (ECF 33275). The Court granted the PSC an additional 35 pages for
              their Opposition brief on September 13th (ECF 33276).

     x The PSC’s Motion to Compel Defendants to produce invoices for all
       expert work relating to talc claims (ECF 33052) – fully briefed:

            o On August 1, 2024, the PSC filed a letter seeking to compel
              Defendants to produce invoices for all expert work relating to talc
              claims, whether related to this MDL or not (ECF 33052). On August
              1, 2024, Defendants filed a letter in response (ECF 33053) noting the
              PSC’s “motion” is procedurally improper under the Local Rules as it
              is not actually a motion. On August 9th, the Court instructed the
              parties to meet and confer no later than August 20th (ECF 33077). If
              the parties remain at an impasse after that meeting, the Court ordered
              Defendants to file their Opposition by August 27th, and the PSC to
              file their Reply by September 4th. On August 19th, the parties met
              and conferred on the issue but were unable to resolve the dispute.
              Defendants filed their Opposition to the motion on August 27th (ECF
              33187). Plaintiffs filed their Reply on September 4, 2024 (ECF
              33232).

     x Defendants’ Motion to Strike Rebuttal Expert Report of Dr. Elizabeth
       Stuart (ECF 33038) – fully briefed:
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            o On July 30, 2024, Defendants filed a Motion to Strike Rebuttal Expert
              Report of Dr. Elizabeth Stuart (ECF 33038). Plaintiffs’ Opposition
              was filed on August 20, 2024 (ECF 33102). Defendants’ Reply was
              filed on August 27, 2024 (ECF 33189).

     x Disqualification of Beasley Allen and Andy Birchfield – fully briefed:

            o On July 19, 2024, this Court entered an order directing the parties to
              show cause why the MCL Court’s findings of fact and conclusions of
              law should not be adopted. On July 25, 2024, Defendants J&J and
              LLT Mgt. filed their response to the Court’s July 19, 2024 Show
              Cause Order (ECF 33026). On August 5th, Beasley Allen submitted a
              responsive brief (ECF 33065) with the Court’s permission. On August
              12, 2024, Defendants filed their Supplemental Reply to the Court’s
              July 19, 2024, Show Cause Order Explaining Why the Court Should
              Not Adopt the State MCL Judge’s Findings of Fact and Conclusions
              of Law on Their Motion to Disqualify Beasley Allen from This
              Litigation (ECF 33084) with the Court’s permission.

     x The PSC’s Motion to Establish a Census (ECF 32931) – now fully
       briefed:

            o On July 10, 2024, Plaintiffs filed a Motion for the Entry of an Order to
              Establish a Census and Require the Provision of Data by Persons with
              Unfiled Claims/Cases to Confirm the Plaintiff Suffers from Epithelial
              Ovarian Cancer, Fallopian Tube Cancer, or Primary Peritoneal Cancer
              (ECF 32931). Defendants’ Opposition was filed July 19, 2024 (ECF
              32985). Plaintiffs’ Reply to Defendants’ Opposition was filed July 29,
              2024 (ECF 33032).

     x Defendants’ Objections to the Special Master’s Order of July 1, 2024,
       regarding inspection of Dr. William Longo’s laboratory (ECF 32872) –
       fully briefed:
            o On June 17, 2024, Special Master Schneider denied Defendants’
              Motion to Compel the Inspection of Dr. William Longo’s Laboratory
              (ECF 32826). Defendants filed an objection to the Special Master’s
              Order on July 1, 2024 (ECF 32872). Plaintiffs’ Opposition to
              Defendants Objections to the Special Master’s Order was filed on July
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               22, 2024 (ECF 32992). Defendants filed their Reply on July 29, 2024
               (ECF 33035).

     x Defendants’ Objections to the Special Master’s Order of August 20,
       2024, regarding compelling Mr. Hess to answer deposition questions
       (ECF 33103, 33104) – fully briefed:

            o The deposition of Mr. Hess occurred on July 10, 2024. The PSC
              raised objections to the scope of the inquiry of Mr. Hess at the
              beginning of the deposition. The Special Master heard argument from
              the parties, ruled on the objections, and provided instructions for the
              scope of questions to be asked the witness. It is the PSC’s position
              that the deposition proceeded in keeping with Special Master
              Schneider’s orders. On July 22, 2024, Defendants filed a Motion to
              Compel Hess’s testimony and asked for Sanctions (ECF 32993- 26).
              Plaintiff’s’ filed opposition on August 1, 2024 (ECF 33056). Paul
              Hess, through his personal counsel, filed opposition on August 1,
              2024 (ECF 33058). Defendants filed their reply on August 2, 2024
              (ECF 33057). The matter was heard by Special Master Schneider on
              August 5, 2024. On August 6, 2023, Special Master Schneider granted
              in part and denied in part Defendants’ motion (ECF 33067).
            o Defendants objected to Special Master Schneider’s order on August
              20, 2024 (ECF 33103, 33104). The PSC filed their Opposition to
              Defendants’ Objections to the Special Master’s Order on September 3,
              2024 (ECF 33227). Counsel for Mr. Hess separately filed Opposition
              on September 3, 2024 (ECF 33228). Defendants filed their Reply on
              September 9, 2024 (ECF 33268).

     x Defendants’ Objections to Special Master’s Order of July 9, 2024,
       regarding subpoenas served on Beasley Allen Law Firm, Smith Law
       Firm, and Ellington Management Group (ECF 33061) – fully briefed:

            o On May 20 and 21, 2024, Defendants filed Notices of Intent to Serve
              Subpoenas on the Beasley Allen Law Firm (ECF 32201), Ellington
              Management Group (ECF 32215), and the Smith Law Firm (ECF
              32226). On May 30, 2024, the Plaintiffs Steering Committee filed a
              Motion to Quash or for Protective Order regarding these subpoenas
              (ECF 32483). Also on May 30, 2024, the Beasley Allen Law Firm
              separately filed a Motion to Quash and/or for Protective Order
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               concerning the subpoena directed to the Beasley Allen Law Firm
               (ECF 32445). On June 3, 2024, Allen Smith and the Smith Law Firm
               filed a Motion to Quash the Subpoena directed to them (ECF 32603).
               Defendants filed one opposition to all three motions on June 17, 2024
               (ECF 32827). Non-Party Beasley Allen served their reply brief on
               June 24, 2024 (ECF 32858). All three motions were heard on July 1,
               2024 in a hearing conducted by Special Master Schneider. On July 9,
               2024, Special Master Schneider granted all three Motions to Quash
               (ECF 32926).

            On July 21, 2024 Defendants J&J and LLT Mgt. filed their Notice of
            Objections to Special Master Order No. 25 (ECF 32987). On August 5,
            2024, responses in opposition to the Objection were filed by Beasley
            Allen (ECF 33061); the PSC (33062); and the Smith Law Firm (ECF
            33064). On August 12, 2024, Defendants filed their Reply (ECF 33085).
            On August 26, 2024, Defendants filed a letter apprising the Court of
            additional authority (ECF 33171).

     x Defendants’ proposed final dismissal order listing 2016-2017 cases
       subject to the June 11th PPF OTSC which failed to show good cause to
       the Court (ECF 32980):
            o On June 11, 2024, Your Honor entered Defendants’ Order to Show
              Cause why the cases listed in Exhibit A attached to the Order should
              not be dismissed with prejudice for their failure to provide Defendants
              with Plaintiff Profile Forms (ECF 32811). The Plaintiffs subject to the
              Order had until July 2, 2024, to show cause why their case should not
              be dismissed with prejudice. On July 17, 2024, Defendants filed a
              final dismissal order listing 2016-2017 cases subject to the June 11th
              OTSC which failed to show good cause to the Court (ECF 32980).
              The PSC has no objection to the order as submitted by Defendants on
              July 17, 2024 (ECF 32980). The Defendants request that the final
              dismissal order be entered.

     x Defendants’ proposed PPF OTSC filed on July 1st (ECF 32868):
            o Defendants filed an OTSC on July 1st (ECF 32868) regarding cases
              filed and/or transferred to this MDL in 2020 which remain deficient in
              serving PPFs. The cases listed on the July 1st OTSC were previously
              listed to the Court on the May and June PPF Reports (ECF 32127 &
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               ECF 32599). Defendants respectfully request the July 1st OTSC be
               entered at the Court’s earliest convenience.

     x Defendants’ proposed PPF OTSC filed on September 3rd (ECF 33224):

            o Defendants filed an OTSC on September 3rd (ECF 33224) regarding
              cases filed and/or transferred to this MDL from 2021 to September 1,
              2023 which remain deficient in serving PPFs. The cases listed on the
              September 3rd OTSC were previously listed to the Court on the July
              and August PPF Reports (ECF 32869 & ECF 33055). Defendants
              respectfully request the September 3rd OTSC be entered at the
              Court’s earliest convenience.

     x PPF OTSC entered on August 15, 2024 (ECF 33096):
            o On August 15, 2024, Your Honor entered Defendants’ Order to Show
              Cause regarding PPF deficiencies (ECF 33096). Plaintiffs subject to
              the OTSC had until September 5, 2024, to show cause why their case
              should not be dismissed with prejudice. Defendants filed replies (ECF
              33270; ECF 33269; ECF 33265; ECF 33272) to certain Plaintiffs’
              responses to the OTSC which requested additional time to serve
              discovery, dismiss the case without prejudice, or delay dismissal until
              after a motion to withdraw as counsel is decided. Defendants will file
              a final dismissal order after September 19, 2024, listing the cases
              subject to the August 15th OTSC which failed to file a PPF and show
              good cause to the Court.

     x Defendants’ Motion to Dismiss Class Action Complaint in Love (Case
       No. 3:24-cv-06320, Doc. 47) – fully briefed:

            o On July 11, 2024, Defendants filed a Motion to Dismiss Class Action
              Complaint in the Love matter (Case No. 3:24-cv- 06320, ECF 47).
              Plaintiffs filed their Opposition to the Motion to Dismiss on July 22,
              2024 (Case No. 3:24-cv- 06320, ECF 48). On July 29, 2024,
              Defendants filed their Reply in Support of their Motion to Dismiss
              (Case No. 3:24-cv- 06320, ECF 50).

     x Defendants’ Motion to Dismiss the Complaint in Bynum (Case No. 3:24-
       cv-07065, ECF 11):
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            o On August 21, 2024, Defendants filed a Motion to Dismiss the Bynum
              Complaint seeking certification of a medical monitoring class (Case
              No. 3:24-cv-07065, ECF 11). On August 30, 2024, the Parties entered
              into a Stipulation to Extend Time for the Plaintiffs to Respond to the
              Motion to Dismiss or file an Amended Complaint by September 26,
              2024 (Case No. 3:24-cv-07065, ECF. 12). The Court granted that
              stipulation the same day (Case No. 3:24-cv-07065, ECF 13).

     x Defendants’ Omnibus Motion for Summary Judgment in the matters of
       Williams (Case No. 3:19-cv-18778) and Hill (Case No. 3:18-cv-8344) –
       fully briefed:

            o On June 18, 2021, Defendants filed an Omnibus Motion for Summary
              Judgment (ECF 22865) regarding the cases of Williams (Case No.
              3:19-cv-18778); Hill (Case No. 3:18-cv-8344); Scroggins (Case No.
              3:18-cv-12766); and Landreth (Case No. 3:17-cv-11788). Plaintiff
              Hill filed Opposition to the motion on July 9, 2021 (ECF 23518);
              Plaintiff Williams filed Opposition to the motion on July 9, 2021
              (Case No. 3:19-cv-18778, ECF 24); Plaintiff Landreth filed
              Opposition to the motion on July 9, 2021 (Case No. 3:17-cv-11788,
              ECF 25); and Plaintiff Scroggins filed Opposition to the motion on
              July 9, 2021 (Case No. 3:18-cv-12766, ECF 43). Defendants filed
              their Reply as to Williams, Hill, and Scroggins on July 21, 2021 (ECF
              23977). Defendants withdrew the motion, without prejudice, as to
              Landreth on September 12, 2023 (ECF 27954).

            o Pursuant to the Court’s request that an unredacted copy of the
              Omnibus Motion for Summary Judgment be filed, Defendants refiled
              the motion on November 8, 2023 (ECF 28668). On December 7,
              2023, the Court denied Defendants’ motion as to Scroggins only
              (Case No. 3:18-cv-12766, ECF 46). The motion remains pending as
              to Williams and Hill.
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  Status of Other Matters

     x Plaintiffs’ Subpoena to Public Library of Science (PLOS):

            o On March 20, 2024, the PSC served the Public Library of Science
              (PLOS) with a subpoena for information related to a manuscript
              submitted by Plaintiffs’ expert Dr. Saed to PLOS in 2020.

             o On April 12, 2024, Counsel for PLOS served an objection to the
               subpoena claiming privilege and confidentiality and attaching to the
               objection a Privilege Log on counsel for the Plaintiffs.

     x Plaintiffs’ Subpoena to Analysis Group LLC:
             o On June 11, 2024, the PSC served Analysis Group LLC with a
               subpoena for information related to Defendants’ expert Dr. Kathleen
               Sutcliffe and her work on this litigation. The Defendants view the
               subpoena as overbroad, raising issues of financial disclosures for all
               experts in the MDL. The parties will meet and confer on the issues.

     x CMO 9 Notices:
             o On August 14, 2024, Defendants filed an Order to Show Cause (ECF
               33089) why cases listed on Exhibit A should not be dismissed with
               prejudice for their failure to either file a Notice of Inability to
               Substitute (“NIS”), move to substitute the proper party plaintiff, or
               file an amended complaint by July 12, 2024, pursuant Paragraphs 2
               and 3 of the Court’s May 15, 2024, Order Regarding CMO 9 Notices
               (ECF 32181). Since that time, over 100 cases listed on Exhibit A
               attached to the proposed OTSC have filed an NIS. Defendants will
               provide the Court with an updated list of cases which failed to file an
               NIS and should be subject to the OTSC.

     x New Jersey Proceedings Before Judge Porto:
             o Depositions of all expert witnesses in the Carl and Balderrama
               matters have been completed.
             o On August 8, 2024, Defendants filed a Motion for Leave to File an
               Interlocutory Appeal of the Trial Court’s July 19, 2024, Opinion and
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              Order regarding the denial of Defendants’ Motion to Disqualify
              Beasley Allen. On August 19, 2024, Beasley Allen filed their
              Opposition. On August 26, 2024, Defendants filed a Motion for
              Leave to File Reply Brief. Beasley Allen had until September 6,
              2024, to file Opposition to the Motion for Leave to File Reply Brief
              but no Opposition was filed. The matter is docketed at AM-000635-
              23.

           o On August 16, 2024, Defendants filed their Accutane and dispositive
             motions in Carl and Balderrama. On September 6, 2024, the Court
             moved the deadline for responsive briefs to be filed to September 20,
             2024, with reply briefs to dispositive motions due by October 1, 2024
             at the request of Plaintiffs’ counsel.

           o Plaintiffs did not file any Accutane or dispositive motions.

       Thank you for your attention to these matters.
Respectfully submitted,

/s/ Susan M. Sharko
Susan M. Sharko


SMS/scg

cc:   Leigh O’Dell, Esq. (via email)
      Michelle Parfitt, Esq. (via email)
      All Counsel (via ECF)
